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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION


SHEWANDA HUBBARD,                               CIVIL ACTION NO.

                      Plaintiff,                2:17-CV-08125-SSV-JVM

V.                                              JUDGE SARAH S. VANCE

LIBERTY LIFE ASSURANCE COMPANY                  MAGISTRATE JUDGE
OF BOSTON                                       JANIS VAN MEERVELD

                      Defendant.

           DEFENDANT’S SUBMISSION OF ADMINISTRATIVE RECORD

       Defendant, Liberty Life Assurance Company of Boston (“Defendant”) files Defendant’s

Submission of Administrative Record pursuant to the Order entered by the Court on August 23,

2018 (Document 16).

              1.      Group Disability Income Policy (Liberty/Hubbard 001-047);

              2.      March 23, 2015, correspondence containing decision on appeal
                      (Liberty/Hubbard 108-114);

              3.      The Administrative Record pertaining to LTD claim (Liberty/Hubbard
                      048-107 and 115-678); and

              4.      Additional Documents Produced by Defendant (Liberty/Hubbard 679-
                      693).

              Dated this 3rd day of October 2018.

                                         Respectfully submitted,


                                           /s/ Iwana Rademaekers
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                                         LAW OFFICES OF IWANA
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                                           - And -


                                           /s/ René E. Thorne
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                                           COUNSEL FOR DEFENDANT


                                CERTIFICATE OF SERVICE

       This is to certify that the above and foregoing document was forwarded via electronic

mail on the 3rd day of October 2018, to the following counsel of record:

               Reagan L. Toledano
               Email: rtoledano@willefordlaw.com

                                                     /s/ Iwana Rademaekers
                                                     Iwana Rademaekers




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